

ON ORDER TO SHOW CAUSE

PER CURIAM.
This Court issued a Spencer1 show-cause order directing the appellant, Mario A. Parker, to demonstrate why he should not be barred from filing further pro se challenges to his convictions and sentences in this case. We did so after affirming the denial of Parker’s successive pro se motion for postconviction relief. We find Parker’s response to our show-cause order to be unpersuasive and conclude he is abusing the judicial process.
Therefore, we now prohibit Parker from filing with this Court any more pro se pleadings concerning Orange County, Ninth Judicial Circuit Court, case number 1991-CF-1224. The Clerk of this Court is directed not to accept any further pro se filings from Parker concerning this case. Any additional pleadings or motions in this case will be summarily rejected by the Clerk, unless they are filed by a member in good standing with The Florida Bar. See Johnson v. State, 652 So.2d 980, 980 (Fla. 5th DCA 1995) (prohibiting petitioner from filing further pro se pleadings after thirteen challenges to conviction and sentence); Isley v. State, 652 So.2d 409, 411 (Fla. 5th DCA 1995) (“Enough is enough.”). The Clerk is further directed to forward a certified copy of this opinion to the appropriate institution for consideration of disciplinary procedures. See § 944.279(1), Fla. Stat. (2010); Simpkins v. State, 909 So.2d 427, 428 (Fla. 5th DCA 2005).
PALMER, EVANDER and JACOBUS, JJ., concur.

. State v. Spencer, 751 So.2d 47 (Fla.1999).

